        Case 1:15-cv-00319-AT Document 274 Filed 10/04/18 Page 1 of 10




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


EMERSON ELECTRIC CO., et al.,                 )
                                              )
      Plaintiffs,                             )     Civil Action
                                              )     File No. 1:15-cv-00319-AT
v.                                            )
                                              )
SIPCO, LLC, and                               )
IP CO, LLC (d/b/a INTUS IQ),                  )
                                              )
Defendants.                                   )
                                              )

       JOINT STIPULATION AND MOTION TO CONTINUE STAY

      WHEREAS Emerson Electric Co., Fisher-Rosemount Systems, Inc., and

Rosemount Inc. filed the instant declaratory judgement action on January 30, 2015

concerning U.S. Patent Nos. 7,103,511 ("the '511 patent") and 6,044,062 ("the

'062 patent") ("NDGA Case") (Did. No. 1);

      WHEREAS SIPCO LLC ("SIPCO") and IP CO., LLC ("IPCO") filed a

complaint and an amended complaint for infringement against, inter alia, Emerson

Electric Co., Emerson Process Management LLLP, Fisher-Rosemount Systems,

Inc., and Rosemount Inc. ("Emerson") on October 16, 2015 and December 30,

2015, respectively, in the Eastern District of Texas asserting U.S. Patent Nos.

6,437,692 ("the '692 patent"), 6,914,893 ("the '893 patent"), 7,697,492 ("the '492
         Case 1:15-cv-00319-AT Document 274 Filed 10/04/18 Page 2 of 10




patent), 7,468 661 ("the '661 patent"), 8,754,780 ("the '780 patent"), 8,908,842

("the '842 patent"), 6,249,516 ("the '516 patent"), 8,000,314 (the '314 patent),

8,013,732 ("the '732 patent"), 8,233,471 ("the '471 patent"), and 8,625,496 ("the

'496 patent") in Case No. 6:15-cv-00907-RWS-KNM ("EDTX Case");

        WHEREAS the EDTX Case was transferred to the Northern District of

Georgia on July 1, 2016 and consolidated with the NDGA case on August 18, 2016

(Dkt. Nos. 109, 121);

        WHEREAS SIPCO and IPCO served an election of claims and asserted

patents in the NDGA on December 9, 2016 asserting claims from the '511 patent,

the '062 patent, the '692 patent, the '893 patent, the '492 patent, the '661 patent,

the '842 patent, the '732 patent, the '471 patent, and the '496 patent (Dkt. No.

185);

        WHEREAS Emerson has filed several petitions for inter parts review and a

petition for covered business method review of the asserted patents before the

Patent Trial and Appeal Board of the United States Patent and Trademark Office

("PTAB");

        WHEREAS this Court has stayed the proceedings until the PTAB issues the

last of its final written decisions concerning the asserted patents (Dkt. Nos. 218,

258);



                                         -2-
        Case 1:15-cv-00319-AT Document 274 Filed 10/04/18 Page 3 of 10




       WHEREAS SIPCO filed a complaint for infringement against Emerson

Process Management LLLP, Emerson Process Management Asia Pacific Private

Limited, Emerson Process Management Manufacturing (M) Sdn. Bhd., and Fisher-

Rosemount Systems, Inc. on August 3, 2018 in the District of Delaware asserting

the '893 and '511 patents, as well as U.S. Patent Nos. 8,964,708 ("the '708

patent"), and 9,439,126 ("the '126 patent") in Case No. 1:18-cv-1170 ("Del.

Case") (Dkt. No. 268, Ex. F);

      WHEREAS SIPCO filed a complaint for infringement against Emerson

Electric Co. and Rosemount Inc. on August 3, 2018 in the Southern District of

Texas asserting the '893 patent, the '511 patent, the '708 patent, and the '126

patent in Case No. 4:18-cv-02689 ("SDTX Case") (Dkt. No. 268, Ex. G);

      WHEREAS SIPCO filed a complaint under section 337 of the Tariff Act of

1930 against Emerson Electric Co., Emerson Process Management LLLP,

Emerson Process Management Asia Pacific Private Limited, Emerson Process

Management Manufacturing (M) Sdn. Bhd., Fisher-Rosemount Systems, Inc.,

Rosemount Inc., Analog Devices, Inc., Linear Technology LLC, Dust Networks,

Inc., Tadiran Batteries Inc., and Tadiran Batteries Ltd. on August 3, 2018 before

the United States International Trade Commission asserting the '893 patent, the

'511 patent, the '708 patent, and the '126 patent in In the Matter of Certain


                                         -3-
        Case 1:15-cv-00319-AT Document 274 Filed 10/04/18 Page 4 of 10




Wireless Mesh Networking Products and Related Components Thereof,

Investigation No. 337-TA-1131 ("ITC Investigation");

      WHEREAS the ITC Investigation was instituted on September 5, 2018 (Dkt.

No. 273, Ex. J);

      WHEREAS Emerson Electric Co., Emerson Process Management LLLP,

Fisher-Rosemount Systems, Inc., and Rosemount Inc. filed a Combined

Emergency Motion to (1) Administratively Reopen the Case; (2) Lift the Stay for

Purposes of Considering the Instant Combined Motion; (3) Enjoin SIPCO LLC's

Newly-Filed Texas and Delaware Actions; (4) Stay All Cases Pending Final

Determination and Any Appeal in All PTAB Proceedings; and (5) Stay the Cases

Pending the Final Determination and Any Appeal of SIPCO LLC's Newly-Filed

Action at the International Trade Commission (Dkt. No. 268) ("Motion") on

August 17, 2018 before this Court; and

       WHEREAS Emerson Electric Co., Emerson Process Management LLLP,

Fisher-Rosemount Systems, Inc., and Rosemount Inc. have properly sought a

statutory stay of the NDGA Case with respect to the '893 and '511 patents

pursuant to 28 U.S.C. § 1659, including through any appeal of the ITC

Investigation;




                                         -4-
        Case 1:15-cv-00319-AT Document 274 Filed 10/04/18 Page 5 of 10




       WHEREAS Emerson, SIPCO, and IPCO (collectively, the "Parties") have

met and conferred and have reached an agreement resolving the Motion;

      Accordingly, the Parties hereby STIPULATE as follows:

      1.     SIPCO agrees to dismiss the Del. and SDTX Cases without prejudice

and agrees to refrain from filing a lawsuit against Emerson on the patents in the

dismissed cases for the duration of the 28 U.S.C. § 1659 stay ("§ 1659"), which

includes any appeals from the ITC Investigation.

      2.     Emerson agrees to refrain from filing another action for declaratory

judgment on any of the patents in the Del. and SDTX Cases at any time before

SIPCO refiles a lawsuit for infringement of those patents.

      3.     Emerson acknowledges service of SIPCO's allegations of

infringement of U.S. Patent Nos. 6,914,893, 7,103,511, 8,964,708, and 9,439,126,

on August 3, 2018. For any new lawsuit on any of these patents filed by SIPCO

after the § 1659 stay, Emerson agrees that potential damages will be calculated in

accordance with 35 U.S.C. §§ 286, 287 as if the suit was filed on August 3, 2018,

as to those patents.

      4.     The Parties agree that the one year time bar pursuant to 35 U.S.C.

§ 315(b) is running for Emerson with respect to U.S. Patent Nos. 8,964,708 and

9,439,126, and that it started to run on September 19, 2018.


                                        -5-
          Case 1:15-cv-00319-AT Document 274 Filed 10/04/18 Page 6 of 10




         5.   Emerson reserves all objections to the propriety of the Del. and SDTX

Cases as well as any future cases. SIPCO maintains its positions regarding the

propriety of these cases and any future cases.

         6.   The Parties agree that the NDGA Case will be stayed with respect to

the '511 and '893 patents for the duration of the § 1659 stay, which includes any

appeals from the ITC Investigation.

         7.   The Parties agree that the NDGA case will be stayed through the

PTAB's issuance of the last of its final written decisions on all other patents and

that once the PTAB issues the last of its fmal written decisions they will notify the

Court/Special Master regarding the status of the proceedings.

         8.   Following the notification required under Paragraph 7, above, the

Parties will address with the Court/Special Master, through briefing or a joint

submission, the issue of continuing or lifting the stay (except for any allegations

relating to the '511 patent and '893 patent, which will remain stayed because of §

1659).

      9.      Emerson withdraws its pending emergency motion (Dkt. No. 268) in

the entirety without prejudice to any of the issues raised therein.

      Accordingly, the Parties hereby jointly MOVE the Court to:
 Case 1:15-cv-00319-AT Document 274 Filed 10/04/18 Page 7 of 10




1.   Extend the Court's stay (Dkt. Nos. 218, 258) as to U.S. Patent Nos.

     6,914,893 and 7,103,511 pursuant to 28 U.S.C. § 1659 until the

     determination of the U.S. International Trade Commission becomes

     final in In the Matter of Certain Wireless Mesh Networking Products

     and Related Components Thereof Investigation No. 337-TA-1131,

     which includes any appeals therefrom;

2.   Extend the Court's stay (Dkt. Nos. 218, 258) until the last of the final

     written decisions issues from the PTAB on all other patents, at which

     point the parties will notify the Court and the Special Master

     regarding the status of the proceedings;

3.   Following the notification required under Paragraph 2, above, Order

     the Parties to address with the Court/Special Master, through briefing

     or a joint submission, the issue of continuing or lifting the stay (except

     for any allegations relating to the '511 patent and '893 patent, which

     will remain stayed because of § 1659).

4.   Order that the Emerson parties' Combined Emergency Motion to (1)

     Administratively Reopen the Case; (2) Lift the Stay for Purposes of

     Considering the Instant Combined Motion; (3) Enjoin SIPCO LLC's

     Newly-Filed Texas and Delaware Actions; (4) Stay All Cases Pending


                                 -7-
       Case 1:15-cv-00319-AT Document 274 Filed 10/04/18 Page 8 of 10




             Final Determination and Any Appeal in All PTAB Proceedings; and

             (5) Stay the Cases Pending the Final Determination and Any Appeal

             of SIPCO LLC's Newly-Filed Action at the International Trade

             Commission (Dkt. No. 268) is withdrawn in its entirety without

             prejudice to any of the issues raised therein; and

      5.     Order that this action shall remain administratively closed following

             entry of this Order.

      A proposed Order granting the Parties stipulated joint motion is attached as

Exhibit A.



Date: October 4, 2018

                                      Respectfully submitted,

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                                         -8-
Case 1:15-cv-00319-AT Document 274 Filed 10/04/18 Page 9 of 10




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                             -9-
       Case 1:15-cv-00319-AT Document 274 Filed 10/04/18 Page 10 of 10




       CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1

      The undersigned hereby certifies that this filing was prepared using one of

the font and point selections approved by this Court in Local Rule 5.1C.

Specifically, Times New Roman font was used in 14 point.


                                      /s/ William V. Custer
                                      Georgia Bar No. 202910




                         CERTIFICATE OF SERVICE

      I hereby certify that on this date, I filed a copy of the foregoing Joint

Stipulation and Motion to Continue Stay with the Clerk of Court using the

CM/ECF system, which will automatically notify all counsel of record.


Dated: October 4, 2018

                                      /s/ William V. Custer
                                      Georgia Bar No. 202910




                                       -10-
